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                    EXHIBIT 1
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            Jam_es_R.   Hawkins (saw 192925)                                  |I|[_E     ENDQRSED
            Christina   M. Luc10(SBN 253677)                                   mark 0     Superior Court
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            Attomeys for Plaintift‘CORNEl,lUS OMAR BENNETT,
            on behalf of himself and all others similarly situated
                                                                            1;\1-13$     ,
                                                                                                 Cm”4               5’

                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                    COUNTY OF SOLANO
             CORNELIUS           OMAR BENNETT,              Case No.
             individually and on behalf of himself and
             all others similarly situated,                 COMPLAINT
                                                            Assigned for All Purposes T0:
                                    Plaintiff,              Hon.
                        V.                                  Dept.:

             ANI-IEUSER-BUSCH COMMERCIAL                    COMPLAINT FOR DAMAGES FOR:
             STRATEFY, LLC, a Delaware Limited
             Liability       Company;   ANHEUSER-           1)       Failure to Pay   Minimum Wages;
             BUSCH, LLC,    a Missouri Limited
             Liability Company; and       DOES
                                            1-50,           2)       Failure to Pay Overtime             Owed;
             inclusive,
                                                            3)       Failure to Provide Lawful            Meal
                                                                     Periods;
                                    Defendants.
                                                            4)       Failure To Authorize           And Permit
                                                                     Rest Periods;
                                                            5)       Failure to Timely Pay           Wages During
                                                                       m
                                                                     E ploy ment
                                                            o                            Wages Owed
                                                                     Failure to Timely Pay
                                                                     Upon Separation From Employm ent;
                                                            1)       Knowing and Intentional Failure to
                                                                     Comply with Itemized Wage
                                                                     Statement Provisions;
                                                            3)       Violation of the Unfair Competiti on
                                                                     Law;
                                                            DEMAND FOR JURY TRIAL


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                                                         COMPLAINT
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                      COMES NOW, Plaintiff CORNELIUS OMAR BENNETT (“Plaintiff”),                                  individually and

            on behalf of others similarly         situated,     and   asserts claims against defendants           Anheuser-Busch

            Commercial Strategy, LLC, a Delaware Limited Liability Company; Anheuser-Busch, LLC, a

            Missouri Limited Liability Company; and               DOES         1-50, inclusive (collectively “Defendants” or

            “Anheuser-Busch”) as follows:
                                                              INTRODUCTION
                      1.    This   is   a Class Action, pursuant to Califomia             Code of Civil Procedure     section 382,

            on behalf of Plaintiff and any and         all    persons    who    are or   were employed by Defendants,          either


            directly or indirectly, in the State    of California       at   any time from four years prior to the ﬁling of this

            Complaint through resolution or             trial    of the matter. (“Class Members” or “Non-Exempt

            Emp1oyees”.)

                      2.    Defendants implemented uniform policies and practices that deprived Plaintiff and

            Class    Members of eamed wages,        including     minimum wages; straight time wages; overtime wages;
            premium wages; lawful meal and/or rest breaks;                   sick pay; and timely   payment of wages.

                      3.    Such actions and policies, as described above and                  further herein,   were and continue

            to   be in violation of the California Labor Code.                  Plaintiff,   on behalf of himself and    all   Class

            members, bring this action pursuant to the California Labor Code, including sections 201, 202, 203,

            204, 218.5, 218.6, 221-224, 226, 226.3, 226.7, 245-249, 510, 512, 516, 558, 1174, 1194, 1194.2,

            1195, 1197, 1198, 2802, applicable                IWC     California      Wage     Orders and Califomia Code of

            Regulations, Title     8,   section 11000 et seq., seeking unpaid wages, unpaid                meal and     rest period


            compensation, unpaid sick time, penalties, liquidated damages, and                    reasonable attorneys’ fees and

            costs.

                      4.     Plaintiff,   on behalf of himself and others similarly situated, pursuant to Business and

            Professions    Code   sections 17200-17208, also seek restitution                from Defendants for    their failure to


            pay to Plaintiff and Class Members          all   of their wages, including overtime and premium wages.

                                                    JURISDICTION AND VENUE
                      5.     This action    is   brought as a Class Action on behalf of Plaintiff and similarly situated

             employees of Defendants pursuant to Califomia Code of Civ. Proc. Section 382. The monetary

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                                                                      COMPLAINT
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            damages and            restitution sought     by   Plaintiff exceeds the      minimum     jurisdiction limits of the

            Califomia Superior Court and will be established according to proof at trial.

                      6.           This Court has jurisdiction over this action pursuant to the Califomia Constitution

            Article   VI    §10, which grants the California Superior Court original jurisdiction in               all   causes except

            those given       by   statute to other courts.     The   statutes   under which   this action is   brought do not give

            jurisdiction to any other court.

                      7.           This Court has jurisdiction over this Action pursuant to Califomia Code of Civil

            Procedure, Section 410.10 and California Business                    & Professions Code, Section 17203.
                      8.           This Court has jurisdiction over Defendants because, upon information and belief,

            each Defendant          is   either a resident   of California, has sufﬁcient minimum contacts          in California, or


            otherwise intentionally avails itself of the Califomia market so as to render the exercise of

            jurisdiction over           them by the   California Courts consistent with traditional notions of fair play and

            substantial justice. Defendants            have done and are doing business throughout Califomia and Solano

            County.

                      9.           The unlawful       acts alleged herein       have a direct effect on Plaintiff and the other

            similarly situated Non-Exempt              Employees within Solano County and it is believed that Defendants

            have employed hundreds of Class Members as Non—Exempt Employees                            in   Solano County.

                        10.        The Califomia Superior Court            also has jurisdiction in this matter           because the

            individual claims of the Class             Members      described herein are presently believed to be under the

            seventy-ﬁve thousand dollar ($75,000.00) jurisdictional threshold for Federal Court and the

            aggregate potential damages and recovery by                   all   of the claims of the Plaintiffs Class, including

            attomeys’ fees, placed in controversy by Plaintiffs class-wide claims,                     is   presently believed to be

            under the ﬁve million dollar ($5,000,000.00) threshold of the Class Action Fairness Act of 2005.

            Further, there         is   no federal question     at issue, as the issues   herein are based solely on California

             statutes      and law, including the Labor Code,             IWC Wage        Orders, the Califomia          Code of   Civil


             Procedure, the Califomia Civil Code, and the Califomia Business and Professions Code.

                        11.         Venue is proper in this Court because one or more of the Defendants reside, transact
             business, or have offices in this County, and the acts or omissions alleged herein took place
                                                                                                           in this


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                                                                        COMPLAINT
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          1    County.

          2                                                              PARTIES
          3              12.       Defendant Anheuser-Busch Commercial Strategy,                                   LLC is a Delaware Limited
          4    Liability    Company doing business        in the state        of California.               It is   based   at     One Busch Place,   St.


          5    Louis, Missouri 63118.          Upon information and belief,                    Plaintiff alleges that defendant            Anheuser-

          6    Busch Commercial          Strategy,   LLC, does business under the                         altemative name, Budweiser.

          7              13.       Defendant Anheuser-Busch,                LLC is a Missouri Limited Liability Company doing
           8   business in the State of California.       It is   based      at   One Busch Place,                  St.   Louis, Missouri 63118.

           9             14.       Upon    information and belief, Defendants employ                                    Non-Exempt Employees,          like


          10   Plaintiff,   throughout the State of California.

          11             15.       Plaintiff Cornelius O. Bennett            is   and during the             liability     period has been, a resident

          12   of Califomia.

          13             16.       Plaintiff was   employed       in   an hourly, non~exempt position by Defendants during the

          14   relevant time period.

          15             17.       Plaintiff   and the members of the putative class were employed as hourly paid

          16   employees by employed by Defendants in the State of Califomia                                       at   any time from four years prior

          17   to the ﬁling      of this Complaint.

          18              18.      Whenever      in this complaint reference                         is   made     to   any   act,   deed, or conduct of

          19   Defendants, the allegation means that Defendants engaged in the act, deed, or conduct by or through

          20   one or more of Defendants’ ofﬁcers,                directors, agents, employees, or representatives,                            who was

          21   actively engaged in the management, direction, control, or transaction of the ordinary business and

                         of Defendants.
                                                                                                                              '




          22   affairs

          23               19.     The    true   names and        capacities of Defendants, whether individual, corporate,

          24   associate, or otherwise, sued herein as             DOES           1   through 50, inclusive, are currently unknovsm to

          25   Plaintiff,   who therefore sue Defendants by such ﬁctitious names under Code of Civil                                         Procedure §

          26   474.      Plaintiff will seek leave      of court       to   amend             this    Complaint         to reﬂect the true    names and

          27   capacities of the Defendants designated hereinafter as                           DOES when such identities become known.
          28               20.      Plaintiff is informed   and believes, and thereon                         allege, that the        Doe Defendants       are


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            the partners, agents, or principals and co-conspirators of Defendants and of each other; that

            Defendants and the     Doe Defendants performed the acts and conduct herein                        alleged directly, aided

            and abetted the performance thereof, or knowingly acquiesced                in,   ratiﬁed,   and accepted the beneﬁts

            of such acts and conduct, and therefore each of the                Doe Defendants      is   liable to the extent       of the

            liability   of the Defendants as alleged herein.

                     21.      Plaintiff   is   further informed and believes,        and thereon         allege, that at all times


            material herein, each Defendant          was completely dominated and              controlled       by   its    co-Defendants

            and each was the alter ego of the       other.   Whenever and wherever reference is made in this complaint

            to   any conduct by Defendant or Defendants, such allegations and references                        shall also     be deemed

            to   mean     the conduct of each of the Defendants, acting individually, jointly, and severally.

            Whenever and wherever reference            is   made to individuals who      are not   named as Defendants in this

            complaint, but were employees and/or agents of Defendants, such individuals, at                           all   relevant times

            acted on behalf of Defendants            named     in this   complaint within the scope of their respective

            employments.
                                                      FACTUAL ALLEGATIONS
                        22.    During the relevant time frame, Defendants compensated Plaintiff and the Non-

            Exempt Employees based upon an hourly wage.
                        23.    Plaintiff and the Class       Members were, and      at all   times pertinent hereto, have been

            non~exempt employees within the meaning of the California Labor Code, and the implementing

            rules   and regulations of the      IWC California Wage Orders. They are subject to the protections of
            the   IWC Wage Orders and the Labor Code.
                        24.    During the relevant time, Plaintiff was employed by Defendants                        in    an hourly, non-

            exempt position. He worked as a Laborer Operator in Defendants’                      facilities     approximately 5 days

            per week, 40+ hours per week.

                        25.    Plaintiff is    infonned and believes, and thereon alleges, that Defendants are and were

             advised by skilled lawyers and other professionals, employees, and advisors with knowledge of the

             requirements of California’s        wage and employment laws.
                        26.    All Class   Members      are similarly situated in that they are          all   subject to Defendants’


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            uniform policies and systemic practices as speciﬁed herein.

                       27.      Plaintiff and the Class       Members were required to clock in at the beginning of their
            shifts,   clock out for lunch, in at the end of their lunch periods and out at the end of their shifts.

            However, Plaintiff and the Class Members were not paid for all hours worked because employees

            were required       to   work off the   clock, including without limitation, for       Covid-19 screenings, to wait

            in line,   perform preparatory and pre-shift          activities,   and to don and doff certain personal

            protective equipment including safety glasses, gloves, and steel toe boots such that Plaintiff and

            the Class    Members were not paid for all hours worked.
                       28.       In addition, Plaintiff and the Class      Members were not paid for all hours worked
            because Defendants automatically deducted time for purported meal periods regardless of

            whether a lawful meal period was actually provided.

                       29.       In addition, Plaintiff and the Class      Members worked         in excess   of eight   (8) hours in


            day and/or over forty (40) hours           in   a workweek, but were not properly paid for such time            at   a rate

            of time and one-half the employee’s regular rate of pay per hour.

                       30.       Upon information and belief, Defendants             failed to incorporate all   forms of non-

            discretionary compensation into the regular rate, including differentials, gift cards, and incentives.

                       31.       Plaintiff and the Class      Members were regularly required to work shifts             in excess   of

            ﬁve hours without being provided a lawful meal period and, on occasion, over ten hours                          in a   day

            without being provided a second lawful meal period as required by law.

                       32.       Indeed, during the relevant time, as a consequence of Defendants’ scheduling

            practices,       work demands, and Defendants’          policies    and practices, Defendants frequently failed to

            provide Plaintiff and the Class          Members timely,      legally complaint uninterrupted 30-minute              meal

            periods as required by law.         Not only were Plaintiffs and the Class Members’                ﬁrst meal breaks

            frequently not provided, untimely or short, but also Plaintiff and the Class                 Members were not

            provided a second meal period             when working shifts        in excess   of 10 hours and in excess of l2

            hours.

                        33.      On information and belief, Plaintiff and Class Members did not waive their rights
             to a   second meal period.

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          1             34.     Further, Plaintiff and the Class    Members were required to remain on premises
          2    during meal and rest breaks. Defendants’ exercise of control over the Class                    Members during

          3    meal and   rest periods is inconsistent    with their obligations under the Labor Code and              Wage
          4    Order.

          5             35.     Despite the above-mentioned           meal period          violations,       Defendants failed to

          6    compensate     Plaintiff,   and on infonnation and    belief, failed to      compensate Class Members, one

          7    additional hour of pay at their regular rate as required           by   California law      when meal   periods were

           8   not timely or lawfully provided in a compliant manner.

           9            36.     Plaintiff    is   informed and believes, and thereon alleges, that Defendants know,

          10   should know, knew, and/or should have          known       that Plaintiff   and the other Class Members were

          11   entitled to receive accurate         premium wages under Labor Code §226.7 but were not receiving

          12   accurately calculated compensation.

                                                                                                             Non-Exempt
                                                                                                                              i




          13            37.      In addition, during the relevant time frame, Plaintiff and the

          14   Employees were systematically not authorized and permitted                 to take   one net ten-minute paid,      rest


          15   period for every four hours worked or major fraction thereof, which                  is   a violation of the Labor

          16   Code and IWC wage           order.

          17            38.      Defendants maintained and enforced scheduling practices, policies, and imposed

          18   work demands that frequently required Plaintiff and Class Members                    to forego their lawful, paid


          19   rest periods   of a net ten minutes for every four hours worked or major fraction thereof.                  Such

          20   requisite rest periods      were not timely authorized and permitted.

          21            39.      Despite the above-mentioned rest period violations, Defendants did not

          22   compensate     Plaintiff,   and on infonnation and   belief, did not      pay Class Members one additional

          23   hour of pay    at their regular rate as required   by California law, including LaboriCode section 226.7

          24   and the applicable    IWC wage order, for each day on which lawful rest periods were not
          25   authorized and permitted.

          26            40.      In addition, Plaintiff and the Class         Members were required to remain on work

          27   premises during meal and rest periods. Defendants failed to provide “off-duty” rest and meal

          28   breaks, and further failed to compensate Plaintiff and Class              Members when their breaks were not

                                                                      _   5   _


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            entirely off-duty.

                     41.    Defendants also failed to provide accurate, lawful itemized wage statements to

            Plaintiff and the Class       Members     in part   because of the above speciﬁed violations.

                     42.     Defendants have also made             it   difﬁcult to detennine applicable rates of pay and

            account with precision for the unlawfully withheld wages and deductions due to be paid to Non-

            exempt Employees, including Plaintiff, during the liability period because they did not implement

            and preserve a lawful record-keeping method                 to record all   hours worked, and non-provided rest

            and meal periods owed to employees as required for non-exempt employees by 29 U.S.C. section

            211(0), California Labor        Code    section 226, and applicable California         Wage     Orders.

                     43.     Plaintiff      is   infonned and believes, and            thereon alleges, that at all times herein

            mentioned, Defendants knew that             at the   time of termination of employment (or within 72 hours

            thereof for resignations without prior notice as the case                   may   be) they had a duty to accurately

            compensate Plaintiff and Class Members for all wages owed including straight time, overtime, meal

            and   rest period   premiums, and sick pay, and that Defendants had the ﬁnancial                   ability to   pay such

            compensation, but willfully, knowingly, recklessly, and/or intentionally failed to do so in part

            because of the above-speciﬁed violations.

                      44.       Plaintiff   and the Class Members are covered by applicable Califomia                    IWC Wage
            Orders and corresponding applicable provisions of the Califomia Code of Regulations, Title                            8,


            sec ti on ll00O e t seq   .




                                                    CLASS ACTION ALLEGATIONS
                      45.       Plaintiff brings this action      on his own behalf, as well as on behalf of each and every

            other person similarly situated,“ and thus, seeks class certiﬁcation under California                     Code of Civil

            Procedure §382.

                      46.       All claims alleged herein arise under Califomia law for which Plaintiff seeks relief

            as authorized   by California law.
                      47.       Theiproposed class       is   comprised of and deﬁned          as: all   persons   who   are or were

             employed by the Defendants as hourly paid, non-exempt employees                             in the State of California

             at   any time from four years prior to the ﬁling of this action through resolution or trial of the

                                                                           _   7   .

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            matter. (hereinafter collectively referred to as the “Class” or “Class Members”).

                      48.     Plaintiff also seeks to represent Subclasses included in the Plaintiffs Class,           which

             are   composed of Class Members             satisfying the following deﬁnitions:

                              a.         All Class       Members who were not paid at least minimum wage for all hours
             worked    (collectively    “Minimum Wage Subclass”);
                              b.         All Class       Members who were not accurately paid overtime for hours worked
             over eight in a day or over forty in a workweek (collectively “Overtime Subclass”);

                              c.         All Class       Members who worked more than ﬁve        (5)   hours in a workday and

             were not provided with a timely, uninterrupted lawful meal period of net thirty (30) minutes, and

             were not paid compensation of one hour premium wages                   at the   employee’s regular rate   in lieu


             thereof (hereinafter collectively referred to as the “First         Meal    Period Subclass”);

                              d.         All Class       Members who were subject to Defendant’s policy of automatically
             deducting purported meal periods from hours worked (hereinafter referred to as the “Auto-deduct

             Subclass”).

                              e.             All Class   Members who worked more than ten hours in a workday and were
             not provided with a timely, uninterrupted lawﬁxl second meal period of thirty (30) minutes, and

             were not paid compensation of one hour premium wages                   at the   emp1oyee’s regular rate in lieu

             thereof (hereinafter collectively referred to         as the “Second Meal Period Subclass”);

                              f.             All Class    Members who worked more than          three and a half hours in a

             workday and were not authorized and permitted               to take a net   10-minute rest period for every four

             (4)   hours or major fraction thereof worked per day and were not paid compensation of one hour

             premium wages          at the   employee’s regular rate    in lieu thereof (hereinafter collectively referred to

             as the   “Rest Period Subclass”);

                               g.            All Class   Members who did not receive all owed wages at time of separation
             or within 72 hours in the case of resignation (hereinafter collectively referred to as the “Waiting

             Time Subclass”);
                        -

                               h.            All Class    Members who were      not provided with accurate and complete

             itemized wage statements (hereinafter collectively referred to as the “Inaccurate               Wage Statement

                                                                       -3-
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             Subclass”);

                                       i.          All Class    Members who were                    not paid their accrued sick time wages

             (hereinafter collectively referred to as the                “Sick Pay Subclass”);

                                       j.           All Class   Members who were employed by Defendants and                                 subject to

             Defendant’s Unfair Business Practices (hereinafter collectively referred to as the “Unfair Business

             Practices Subclass”).

                          _49.         Plaintiff reserves the right, under               Rule 3.765, Califomia Rules of Court, to amend

             or modify the descriptions of the Class and Subclasses to provide greater speciﬁcity as appropriate,

             or if   it   should be deemed necessary by the Court or to further divide the Class                                         Members     into


             additional Subclasses orrto limit the Subclasses to particular issues.                                     Any   reference herein to the

             Class   Members                or the Plaintiffs   Class includes the members of each of the                     Subclasses.

                          50.          As       set forth in further detail   below, this action has been brought and                    may properly
             be maintained as a class action under the provisions of section 382 of the Code of Civil Procedure

             because there             is   a   well~deﬁned community of interest                  in the litigation,   and the proposed Class and

             Subclasses are easily ascertainable through Defendants’ records.

                                        a.          Numerosig: The members of the Class and Subclasses                          are so   numerous that

             joinder of          all   members of the Class and Subclasses would be unfeasible and                                 impractical.      The

             membership of the                   entire Class   and Subclasses        is     unknown        to Plaintiff at this time;    however, the

             Class is estimated to                  be hundreds of individuals. Accounting for employee tumover during the

             relevant periods necessarily increases this                           number         substantially.    Plaintiff alleges Defendants’

             employment records would provide information                                        as to the    number and       location of    all   Class

             Members. Joinder of all members of the proposed Class                                    is   not practicable.

                                        b.          The proposed    class     is   easily ascertainable.           The number and        identity   of the

             class   members                are determinable    from Defendants’ payroll records and time records for each                           class


             member.
                                        c.           Commonality: There are              common questions           of law and fact as to the Class

              and Subclasses that predominate over questions affecting only individual Class Members. These

              common questions                   of law and fact include, without limitation:

                                                                                     -   9   _

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                      l.    Whether Defendants accurately paid Class Members                    for all hours worked;

                     2.     Whether Defendants knew or should have known                      that Class   Members were

                            required to perform        work off the   clock;

                     3.     Whether Defendants had a policy of automatically deducting purported meal

                            periods from hours worked;

                      4.    Whether Defendants accurately calculated and paid                       all    Class   Members

                             overtime premiums for the hours which Plaintiff and Class                    Members worked

                             in excess    of eight   (8)   hours per day and/or forty (40) hours per week;

                      5.     Whether Defendants had a policy and               practice of providing lawful, timely

                             meal periods     in   accordance with Labor Code          §   512, as well as the applicable

                             Industrial   Welfare Commission (“IWC”) wage order;

                      6.     Whether Defendants had a policy and practice of complying with Labor Code

                             section 226.7 and       IWC Wage Order on each instance that a lawful, timely 30-
                             minute uninterrupted meal period was not provided;

                      7.     Whether Defendants            failed to authorize   and permit a lawful, net l0-minute

                             rest period to the Class        Members     for every four (4) hours or major fraction

                             thereof worked;

                      8.     Whether Defendants required employees                to   remain on the premises during

                             rest periods;

                      9.     Whether Defendants required employees                to   remain on the premises during

                             meal periods;

                       l0 Whether Defendants had a policy and practice of complying with Labor Code

                             section 226.7 and the          IWC Wage Order on each instance that a lawful rest
                             period was not provided;

                       ll    Whether Defendants             failed to timely     pay   all   wages upon separation       in

                             accordance with Labor Code sections 201-202;

                       l2.   Whether Defendants omitted required information from itemized wage
                             statements;


                                                               .10.
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                                      13.   Whether Defendants       failed to maintain accurate records               of Class Members’

                                            earned wages, work periods, meal periods and deductions;

                                      14.   Whether Defendants failed to pay accrued sick pay                  at the correct rate;


                                      15.   Whether Defendants engaged              in unfair   competition in violation of section

                                            17200   et seq.   of the Business and Professions Code;

                                      16.   Whether Defendants’ conduct was willful and/or reckless;

                                      17.   Whether Defendants       failed to provide accurate itemized               wage   statements in

                                            violation of Labor    Code   §   226; and

                                      18.   The appropriate amount of damages,             restitution, and/or         monetary penalties

                                            resulting   from Defendants’ violations of California law.

                                d.          Typicaligg: Plaintiff is qualiﬁed to and will fairly and adequately protect the

             interests   of each member of the Class and Subclasses with whom he has a well-deﬁned community

             of interest. Plaintiffs claims herein alleged are typical of those claims which could be alleged by

             any member of the Class and/or Subclasses, and the                       relief   sought   is   typical of the relief    which

             would be sought by each member of the Class and/or Subclasses                         in separate actions.       All   members

             of the Class and/or Subclasses have been similarly harmed by Defendants’                           failure to provide lawful


             meal and      rest periods, failure to provide accurate           wage    statements, failure to timely pay            wages   at


             termination, failure to pay minimum wages, and failure to accurately pay                         all   wages earned including

             all   owed premium, overtime wages, and sick pay, all due to Defendants’                         policies   and practices that

             affected each member of the Class and/or Subclasses similarly. Further, Defendants beneﬁted                               from

             the   same type of unfair and/or wrongful             acts as to each     member of the         Class and/or Subclasses.

                                 e.          Adequacy: Plaintiff is qualiﬁed to,         and will fairly and adequately protect the

             interests     of each member of            the Class and/or Subclasses with                whom        he has a well-deﬁned

             community of interest and typicality of claims,             as demonstrated herein. Plaintiff acknowledges that

             he has an obligation to make known to the Court any relationships, conﬂicts, or differences with

             any member of the Class and/or Subclasses, and no such relationships or conﬂicts are currently
             known       to exist.    Plaintiffs attorneys and the proposed counsel for the Class and Subclasses are

             versed in the rules goveming class action discovery, certiﬁcation, litigation, and settlement and

                                                                             .11.
                                                                       COMPLAINT
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             experienced in handling such matters. Other former and current employees of Defendants may also

             serve as representatives of the Class and Subclasses if needed.

                                  f.           Superiority:     The nature of           this action   makes    the use of class action

             adjudication superior to other methods.                   A     class action will achieve economies of time,         effort,


            judicial resources,              and expense, which would not be achieved with separate lawsuits.                       The

             prosecution of separate actions by individual                   members of the Class and/or Subclasses would create

             a risk of inconsistent and/or varying adjudications with respect to the individual                        members of the

             Class and/or Subclasses, establishing incompatible standards of conduct for the Defendants,
                                                                                                         and

             resulting in the impairment of the rights                 of the members of the Class and/or Subclasses and the

             disposition of their interests through actions to                 which they were not parties. Thus, a class action         is


             superior to other available            means for the fair and efﬁcient adjudication of this           controversy because

             individual joinder of all Class            Members       is   not practicable, and questions of law and fact      common

             to the Class predominate over                any questions affecting only individual Class Members.                    Each

             member of the             Class has been     damaged and           is   entitled to recovery     by reason of Defendants’

             unlawful policies and practices that affected each                      member of the Class and/or Subclasses     similarly.

                                                                                                            the
             Class action treatment will allow those similarly situated persons to litigate their claims in

             manner that     is    most efficient and economical               for both parties   and the judicial system. Plaintiff is

             unaware of any            difficulties that are likely to       be encountered     in the   management of this   action that

             would preclude            its   maintenance as a class action.

                                   g.           Public Policy Considerations: Employers in the state of Califomia violate

              employment and labor laws every day. However, current employees                             are often afraid to assert their

              rights out   of fear of direct or indirectretaliation. Former employees are fearful of bringing actions

              because they believe their fonner employers                     may damage their future       endeavors through negative

              references and/or other means.              The    nature of this action allows for the protection of current and

                                                                                              damage. Additionally, the       citizens   of
              former employees’ rights without fear of                       retaliation or

              Califomia have a signiﬁcant interest               in   ensuring employers comply with Califomia’s labor laws

              and   in ensuring those           employers     who do       not are prevented from taking further advantage of their

              employees.

                                                                                .12.
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                                                     CLASS ACTION CLAIMS
                                                    FIRST CAUSE OF ACTION
                                             FAILURE TO PAY MINIMUM WAGES
                                         (By Plaintiff and the Class Against Defendants)
                      51.       Plaintiff incorporates each    and every allegation set forth             in all   of the foregoing

             paragraphs as     if fully set forth herein.

                      52.       Labor Code section 204 establishes the fundamental                right   of all employees         in the


             State of California to be paid wages, including           minimum wage,           straight time   and overtime,         in   a

             timely fashion for their work.

                      53.       Labor Code section ll94(a) provides that notwithstanding any agreement                        to   work

             for a lesser    wage, any employee receiving     less than the legal        minimum wage or the            legal overtime


             compensation applicable to the employee          is   entitled to recover in a civil action the         unpaid balance

             of the   full   amount of this minimum wage or overtime compensation, including                       interest thereon,


             reasonable attomey's fees, and costs of suit.

                       54.      Labor Code section 1197 provides: The minimum wage for employees ﬁxed by the

             commission or by any applicable         state or local law, is the    minimum wage to be paid to employees,

             and the payment of a lower wage than the         minimum        so   ﬁxed   is   unlawful.

                       55.      Pursuant to Labor Code section ll98,          it is   unlawful to employ persons for longer

             than the hours set by the Industrial Welfare Commission or under conditions prohibited by the IWC

             Wage Order(s).
                       56.      The applicable wage orders and Califomia Labor Code                  sections ll97 and 1182.12

             establish the right of employees to be paid       minimum wages for all hours worked,                 in   amounts    set    by

             state law.

                       57.      Labor Code sections l194(a) and ll94.2(a) provide that an employee who has not

             been paid the legal minimum wage as required by Labor Code section l 197 may recover the unpaid

             balance together with attomeys’ fees and costs of suit, as well as liquidated damages in an amount

              equal to the unpaid wages and interest accrued thereon.

                       58.       During all relevant periods, the California Labor Code and wage orders required that

                                                                      .13.
                                                                    COMPLAINT
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            Defendants fully and timely pay            its   non-exempt, hourly employees       all   wages earned and due for all

             hours worked.

                      59.       The     IWC Wage        Orders deﬁne “hours worked” as “the time during which an

             employee is subject to the control of an employer, and includes all the time the employee                  is   suffered

             or permitted to work, whether or not required to do so.”

                      60.       At     all   times relevant, Plaintiff and Class      Members    consistently   worked hours      for


             which they were not paid because Defendants frequently required Plaintiff and the Class Members

             to   work off the    clock. Speciﬁcally, Plaintiff         and the Class Members were required to submit to

             Defendants’       COVID-19          policies of having their temperature taken prior to the start of their

             scheduled       shifts,    were required        to   wait in   line,   and perform various pre-shiﬁ         activities.


             Additionally, Plaintiff and the Class Members were required to don and doff certain PPE including

             safety goggles, gloves, and steel toed boots all prior to the start of their scheduled shiﬁs. Thus,

             Plaintiff and the Class          Members were not paid for all hours worked.
                      61.        Further,      upon information and belief, Plaintiff and the Class Members were not paid

             for hours   worked during purported meal periods due to Defendant’s auto-deduct policies.
                      62.        Plaintiff is     informed and believes that Defendants were aware that Plaintiff and the

             Class   Members were working off the clock and that they should have been paid for this time.
                      63.        Further, Defendant failed to         pay   Plaintiff and the Class    Members   for hours    worked

             during purported meal periods.

                      64.        Defendant’s policy and practice of not paying                   all    minimum wages         violates

             California Labor          Code     sections 204, 210, 216, 558, 1182.12, 1194, 1197, 1197.1, 1198, and the

             applicable      wage order 1-2001 and 9-2001.
                       65.       Due         to Defendants’ violations      of the California Labor Code and wage orders,

             Plaintiff and the         Minimum Wage          Subclass members are entitled to recover from Defendant their

             unpaid wages, statutory penalties, reasonable attorneys’ fees and costs in                       this action,   and pre-

             judgment and post-judgment              interest, as   well as liquidated damages.




                                                                            .14.
                                                                        COMPLAINT
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                                                        SECOND CAUSE OF ACTION
                                                     FAILURE TO PAY OVERTIME OVVED
                                              (By Plaintiff and the Class Against All Defendants)
                     66.          Plaintiff incorporates each          and every allegation             set forth in all     of the foregoing

             paragraphs as        if fully set forth herein.

                     67.          During      all    relevant periods, Defendant required Plaintiff and the Class                   members     to


             work shifts     in excess        of eight   (8)   hours per workday and/or to work in                excess of forty (40) hours

             per workweek.

                     68.          During       all   relevant periods, both the Califomia Labor                  Code     sections 1194, ll97,

             510, 1198, and the pertinent wage order l-2001 and 9-2001 required that                               all   work performed by an

             employee in excess of eight (8) hours in any workday, on the seventh day of work in any workweek,

             or in excess of forty (40) hours in any               workweek be compensated                at    one and one-half (1.5) times

             the employee’s regular rate of pay.                  Any work   in excess       of twelve (12) hours in one (l) day                 is


             required to be compensated at the rate of no less than twice the regular rate of pay for an employee.

                     69.           During      all   relevant periods, Defendants had a uniform policy of requiring Plaintiff

             and the Class members              to   work in excess of eight (8) hours        in a      workday and/or       in   excess of forty

             (40) hours in a workweek without compensating them at a rate of one
                                                                                 and one-half (l .5) times their

             regular rate of pay.

                     70.           The   IWC Wage              Orders deﬁne “hours worked” as “the time during which an

             employee       is   subject to the control of an employer and includes all the time the employee                         is   suffered

             or permitted to work, whether or not required to do so.”

                      71.          At   all   times relevant, Plaintiff and Class           Members        consistently      worked hours       for


             which they were not paid because                   Plaintiff and the Class      Members -were           required to    work off the

             clock—some of these hours were over eight (8) hours                       in   one   (1)   workday or in excess of forty (40)

             hours   in a   workweek and should have been paid                at the   overtime         rate.


                      72.          Plaintiff is       informed and   believes that   Defendants were aware that Plaintiff and the

              Class Members were working off the clock and that they should have been paid for this
                                                                                                    time.

                      73.           In addition,       upon information and belief, Defendants                  failed to incorporate all forms


                                                                            .15.
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             of compensation, including without limitation bonuses, night-shift differentials, and incentives, into

            the regular rate for overtime purposes.

                      74.       As a   result,   Defendants failed to pay Plaintiff and the Class members earned

             overtime wages and such employees suffered damages as a result.

                      75.       Defendants       knew      or should have    known    Plaintiff   and the Class Members were

             undercompensated as a result of these practices.

                      76.       Due to Defendant’s violations of the Califomia Labor Code,               Plaintiff and the Class

             members        are entitled to recover          from Defendants      their   unpaid overtime wages, reasonable

             attorneys’ fees     and costs     in this action,      and pre-judgment and post-judgment         interest, statutory


             penalties,   and liquidated damages.           »

                                                        THIRD CAUSE OF ACTION
                                     FAILURE TO PROVIDE LAWFUL MEAL PERIODS
                              (By Plaintiff and the Meal Period Subclasses Against All Defendants)
                      77.       Plaintiff incorporates          by reference and realleges each and every allegation contained

             above, as though fully set forth herein.

                      78.       Pursuant to Labor Code § 512, no employer shall employ an employee for a work

             period of      more than ﬁve      (5)   hours without providing a meal break of not less than thirty (30)

             minutes in which the employee            is   relieved of all of his or her duties, except that when a work period

             of not more than six       (6)   hours will complete the day’s work the meal period              may    be waived by

             mutual consent of the employer and employee.

                       79.       For the four     (4) years       preceding the ﬁling of this lawsuit, Defendants failed to

             provide Plaintiff and Class         Members         timely and uninterrupted ﬁrst meal periods of not less than

             thirty (30)     minutes within the ﬁrst ﬁve hours of a          shift.


                       80.       As a consequence of Defendants’              policies and practices, requirements,      demands,

             coverage and staffmg, Plaintiff and the Class Members were oﬁen                       required to forego such meal

             periods, take shortened          meal periods, and/or commence           their   meal periods   into   and beyond the

             sixth   hour of their shifts.

                       81.       In addition, Plaintiff and,        upon information and belief, the Class Members were

                                                                           .15.
                                                                        COMPLAINT
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            not allowed to leave the premises during meal breaks, resulting in meal breaks that were not
                                                                                                         “off-


            duty” for employees.

                         82.       Upon   information and belief, Plaintiff and the Class               Members were          not paid one

             hour of pay        at their regular rate for   each day that a meal period was not lawfully provided.

                         83.       Moreover, as a matter of policy and practice, upon information and belief, the Class

             members were          also not provided second      meal periods on days when shifts exceeded ten hours (and

             twelve hours), nor were they provided premium wages                          in lieu     of a second meal period.             On
             information and belief, Plaintiff and the Class             Members did not waive their rights to a second meal
             period on shifts in excess of ten hours.

                         84.       As a proximate        result of the   aforementioned violations, Plaintiff and the Class

             Members have been damaged              in   an amount according to proof at time of trial.

                         85.       Pursuant to Labor Code § 226.7, Plaintiff and Class                Members are entitled to recover

             one   (1)   hour of premium pay for each day in which a meal period violation occurred. They are also

             entitled to recover reasonable attorneys’ fees, cost, interest,               and penalties as applicable.

                         86.       As   a result of the unlawful acts of Defendants, Plaintiff and the Class they seek to

             represent have been deprived of                premium wages         in   amounts   to   be determined        at trial,   and are

             entitled to recovery         of such amounts, plus       interest   and penalties thereon, attorneys‘         fees,   and   costs,


             under Labor Code sections 218.6, 226.7, 512 and the applicable IW C Wage                         Orders, and Civil          Code

             section 3287.

                                             FOURTH CAUSE OF ACTION
                               FAILURE TO AUTHORIZE AND PERMIT LAWFUL REST PERIODS
                                 (By Plaintiff and the Rest Period Subclasses Against All Defendants)
                         87.        Plaintiff incorporates by reference          and realleges each and every allegation contained

             above, as though fully set forth herein.

                   88.              Pursuant to the      IWC wage       orders applicable to Plaintiffs and Class                  Members’

             employment by Defendants, “Every employer shall authorize and permit all employees to take rest
             periods,      which insofar as practicable       shall   be in the middle of each work period.       .   ..   [The] authorized

              rest period       time shall be based on the      total   hours worked daily at the rate of ten (10) minutes net

                                                                           .17.
                                                                         COMPLAINT
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            rest    time per four     (4)   hours worked or major fraction thereof.. .. Authorized rest period time shall

             be counted as hours worked, for which there shall be no deduction from wages.”

                   89.             Labor Code §226.7(a) prohibits an employer from requiring any employee               to   work

             during any rest period mandated by an applicable order of the                IWC.

                   90.             Defendants were required to authorize and permit employees such as Plaintiff and

             Class    Members to take rest periods during shifts         in excess   of 3.5 hours, based upon the total hours

             worked       at   a rate of ten (10) minutes net rest per four (4) hours worked, or major fraction thereof,

             with no deduction from wages.

                   91.             Despite said requirements of the IWC wage orders applicable to Plaintiffs and Class

             Member’s employment with Defendants, Defendants                     failed   and refused to authorize and pennit

             Plaintiff and Class       Members to take lawful,     net ten (l0) minute rest periods for every four (4) hours

             worked, or major fraction thereof. Such rest breaks, when provided, were frequently untimely or

             less    than net ten minutes because of the work requirements imposed by Defendants, and frequent

             calls   during rest periods.

                    92.            In addition, as detailed above, Plaintiff and the Class         Members were      required to

             remain on the premises during              rest breaks, therefore causing rest breaks to not       be entirely “off-

             duty” for employees.

                    93.            Defendants did not pay Plaintiff one additional hour of pay at his regular rate of pay

             for each      day that a rest period violation occurred.      On infonnation and belief, the other members of
             the Class endured similar violations as a result of Defendants’ rest period policies and practices
                                                                                                                and

             Defendant did not pay said Class Members premium pay as required by law.

                    94.             By their   failure to authorize   and pennit Plaintiff and the Class Members to take a

              lawful, net ten (10)      minute rest period free from work duties every four         (4)   hours or major fraction

             thereof Worked, including failure to provide two (2) total rest periods on six to ten hour shifts
                                                                                                               and

              three (3) total ten (10) minute rest periods        on days on which Plaintiff and the other Class Members

              work(ed) work a third rest period for shifts        in excess    often (10) hours, and by their failure to provide

              compensation for such unprovided             rest periods as alleged herein,    Defendants willfully violated the

              provisions of Labor           Code   sections 226.7 and the applicable      IWC Wage Order(s).

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                95.            As   a result of the unlawful acts of Defendants, Plaintiff and the Class they seek to

             represent have been deprived of          premium wages                 in   amounts   to   be determined     at trial,    and are

             entitled to recovery of such    amounts, plus interest and penalties thereon, attorneys‘ fees, and costs,

             under Labor Code sections 218.6, 226.7, the applicable                       IWC Wage Orders, and Civil Code 3287.
                                                      FIFTH CAUSE OF ACTION
              FAILURE TO TIMELY PAY WAGES DUE AND PAYABLE DURING EMPLOYMENT
                                       (By Plaintiff and the Class Against All Defendants)
                      96.      Plaintiff incorporates by reference             and realleges each and every allegation contained

             above, as though fully set forth herein.

                      97.      Labor Code section 204 requires                 that all    wages   are due and payable twice in each

             calendar month.

                      98.      The wages required by Labor Code §§ 226.7, 510, 1194 and other sections became
             due and payable to each employee         in   each month that he or she was not provided with a meal period

             or rest period or paid    minimum wage,        straight or overtime             wages to which he or she was             entitled.


                      99.      Defendants violated Labor Code § 204 by systematically refusing to pay wages due

             under the Labor Code.

                      100.      Labor Code section 210        (a)   provides that “In addition             to,   and entirely independent

             and apart from, any other penalty provided             in this article,        every person    who     fails to   pay the wages

             of each employee as provided        in Sections 201.3, 204,                 204b, 204.1, 204.2, 204.11, 205, 205.5, and

             1197.5, shall be subject to a_penalty as follow:

                      (1)    For any   initial violation,    one hundred dollars ($100) for each                      failure to      pay each
                                                  A



                      employee.

                      (2)    For each subsequent violation, or any willful or intentional violation, two hundred

                      dollars ($200) for      each    failure to    pay each employee, plus 25 percent of the amount

                      unlawfully withheld.

                       103.     As a result of the unlawful         acts       of Defendants, Plaintiff and the Class he seeks to

              represent have been deprived of         wages    in    amounts to be determined                at trial,   and are   entitled to




                                                                           .   19   _

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                                                                                                   pursuant to
             recovery of such amounts, penalties, plus interest thereon, attomeys fees, and costs,

             Labor Code      § 210, 218.5, 218.6, 510, 1194.

                                                     SIXTH CAUSE OF ACTION
                                FAILURE TO TIMELY PAY WAGES OWED AT SEPARATION
                             (By Plaintiff and the Waiting Time Subclass Against All Defendants)
                      101.       Plaintiff incorporates by reference      and realleges each and every allegation contained

             above, as though fully set forth herein.

                      102.       Labor Code §§ 201 and 202 require Defendants to pay                   their   employees    all   wages

             due within seventy-two (72) hours of separation of employment.

                      103.       Section 203 of the Labor       Code provides       that if an   employer willfully    fails to   timely

             pay such wages the employer must,            as a penalty, continue to         pay the subject employee’s wages

             until the   back wages are paid      in full or    an action   is     commenced. The penalty cannot exceed 30

             days of wages.

                      104.       Plaintiff   and Class Members are        entitled to    compensation for       all   forms of wages

             eamed, including but not limited to minimum wages, overtime, and premium meal and rest period

             compensation, but to date have not received such compensation, therefore entitling them to

             §Lde § 203 penalties.
                  -
                      105.       In addition, irrespective of any derivative violation, Defendants failed to timely pay

             Plaintiff, and,     upon information and belief, other Class Members earned compensation                      at the   time

              of termination despite their obligations under Labor Code 201 zmd 202.

                      106.       More than     thirty (30)   days have passed since affected Waiting Time Subclass

              Members have leﬁ Defendants’ employ, and on                   information and belief, they have not received

              payment pursuant to Labor Code           § 203.

                         107.    Plaintiff   and Waiting Time Subclass Members are thus entitled to 30 days’ wages

              as a penalty under Labor        Code   § 203, together with interest thereon
                                                                                                    and attomeys’ fees and        costs.




                                                                      -   20   -                                                           _
                                                                    COMPLAINT
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                                      SEVENTH CAUSE OF ACTION
                        KNOWING AND INTENTIONAL FAILURE TO COlV[PLY WITH ITEIVHZED
                                 EMPLOYEE WAGE STATEMENT PROVISIONS
                                          (By Plaintiff and     Wage Statement Subclass Against Defendants)
                        108.              Plaintiff repeats   and incorporates herein by reference each and every allegation                     set


             forth above, as              though fully     set forth herein.

                    109.                  Labor Code section 226(a) reads            in pertinent part:   “Every employer       shall,


             semimonthly or                at the    time of each payment of wages, furnish each of his or her employees, either

             as a detachable part of the check, draft, or voucher paying the employee’s wages, or separately

             when wages             are paid     by personal check or cash, an accurate itemized statement                 in writing


             showing         (1) gross        wages eamed,      (2) total   hours worked by the employee... (4)           all   deductions...


             (5) net   wages eamed,                  (6) the inclusive dates   of the period for which the employee             is   paid, (7) the

             name     of the employee and only the last four digits of his or her social security                         number or an

             employee identiﬁcation number other than a social security number,                               (8) the   name and address of

             the legal entity that             is    the employer, and (9)     all   applicable hourly rates in effect during each the

             pay period and the corresponding number of hours worked at each hourly rate by the
             employee.         .   ..”.


                    110.                  Further, the    IWC Wage Orders require           in pertinent part:   Every employer          shall


             keep accurate information with respect to each employee including the following:                                   (3) Time


             records showing                when the employee begins and ends each work period. Meal periods,                          split shift


             intervals,       and     total daily       hours worked shall also be recorded.        .   .(5) Total   hours worked in the

             payroll period and applicable rates of pay....”

                    1 l 1.                 Labor Code section 1174 of the California also requires Defendants to maintain

             and preserve, in a centralized location, among other items, records showing the names and

              addresses of all employees employed and payroll records showing the hours                                  worked daily by, and

                    wages paid to,                   employees.   On information and belief and based thereon, Defendants                     have
              the                              its


              knowingly and intentionally failed to comply with Labor Code section 1174, including by

              implementing the policies and procedures and committing the violations alleged in the preceding


                                                                                     .21.
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             causes of action and herein. Defendants’ failure to comply with Labor                         Code     section 1174    is


             unlawful pursuant to Labor Code section 1175.

                 112.          Defendants have failed to record             many of the        items delineated in applicable

             Industrial    Wage   Orders and Labor Code section 226, and required under Labor Code section

             1174, including by virtue of the fact that each               wage statement which        failed to accurately


             compensate Plaintiff and Class Members for all                  hours worked and        for   missed and non-provided

             meal and rest periods, or which          failed to include      compensation for        all   minimum wages eamed or

             overtime hours worked, was an inaccurate wage statement. In addition, the wage statements

             inaccurately stated totals hours         worked and hours worked             at   each hourly wage      rate.


                 113.          On information and belief, Defendants                failed to    implement and preserve a lawful

             record-keeping method to record            all   non-provided meal and rest periods owed to employees or                       all


             hours worked, as required for Non~Exempt Employees under California Labor Code section 226

             and applicable California        Wage Orders.         In order to determine if they had been paid the correct

             amount and rate for all hours worked,              Plaintiff and Class       Members have been, would have been,

             and are compelled to try to discover the required information missing from their wage statements

             and to perform complex calculations               in light   of the inaccuracies and incompleteness of the wage

             statements Defendants provided to them.

                  114.         As a pattem and practice,           in violation     of Labor Code section 226(a) and the              IWC
             Wage Orders, Defendants           did not and      still   do not furnish each of the members of the            Wage

              Statement Class with an accurate itemized statement in writing accurately reﬂecting                            all   of the

                                                                                                       failed to
             required information. Here, Plaintiff asserts the Defendant omitted required information,

              accurately include     all   applicable hourly rates on the          wage statements and the corresponding

              number of hours worked          at   such rates or hours paid        at   such   rates. In addition,    Defendants have

              failed to provide accurate itemized             wage statements      as a consequence of the above-speciﬁed

              violations for failure to accurately        pay    all    wages owed, accurately record         all   hours worked, and

              failure to   pay meal and rest period premiums as required by law.
                                  Moreover, upon information and belief, as a pattern and practice,                     in violation     of
                  115.

              Labor Code section 226(a) and the               IWC Wage Orders, Defendants did not and do not maintain

                                                                            .22.
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             accurate records pertaining to the total hours                  worked for Defendants by the members of the Wage

             Statement Class, including but not limited              to,      beginning and ending of each work period, meal

             period and      split shift interval, the total daily           hours worked, and the total hours worked per pay

             period and applicable rates of pay.

                                                      members of the Wage Statement Class have                  suffered injury as a
                 116.             Plaintiff and the

             result of Defendants’ failure to maintain accurate records for
                                                                            the                    members of the Wage Statement
                                                                                                                      written accurate
             Class in that the     members of the Wage Statement Class were not timely provided
             itemized statements showing          all   requisite information,          such that the members of the Wage

                                                                                     regarding various items,
             Statement Class were misled by Defendants as to the correct information

             including but not limited to total hours         worked by the employee,               net   wages earned and   all


             applicable hourly rates in effect during the pay period and the corresponding
                                                                                           number of hours

             worked at each hourly rate.
                    117.          Pursuant to Labor Code section 226, and in light of Defendants’ violations

                                                          Wage Statement Class Members                  are each entitled to recover   up
             addressed above, Plaintiff and the

             to a   maximum of $4,000.00,         along with an award of costs and reasonable attomeys’ fees.

                                               EIGHTH CAUSE OF ACTION
                                       VIOLATION OF THE UNFAIR COMPETITION LAW
                                              (By Plaintiff and Class Against All Defendants)
                                                                                                                 contained
                           118.    Plaintiff incorporates   by reference and realleges each and every allegation

              above, as though fully set forth herein.

                                   Defendants’ conduct, as alleged in this complaint, has been, and continues
                                                                                                              to be,
                           ll9.
                                                                                                           and the
              unfair, unlawful,       and harmful to Plaintiff and Class Members, Defendants’ competitors,
                                                                               affecting the public interest within
              general public. Plaintiff also seeks to enforce important rights

                                                      Code of Civil Procedure            § 1021 5
                                                                 '       '

              the meaning of the Califomia                                                     .    .




                                                                                                       violations of
                           120.    Defendants’ policies, activities, and actions as alleged herein are
                                                                       practices in violation of Califomia
               Califomia law and constitute unlawful business acts and

              Bus'mess and Professions Code §§ 17200 et seq
                                          '
                                                                                  .
                                                                     ,




                           121.    A violation of Califomia Business and Professions Code §§                     17200, et seq.,   may be

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           1                                             On the Fifth Cause of Action
           2                  (Failure to    Timelv Pav Wages Due and Pavable During EmDl0Vment)_

           3           1.      For unpaid wages;

           4           2.      For penalties pursuant to Labor Code § 210 and                        25% of the amount of wages
           5   unlawfully withheld;

           6           3.      For    interest;

           7           4.      For reasonable attorneys’ fees and costs pursuant to                      statute;   and

           8           5.      For such other and further             relief as the      Court deems proper.

           9                                             On the Sixth Cause of Action
          10                                      (Failure to   Timely Pay Wages At Separation)

          ll           6.      For unpaid wages;

          l2           7.      For penalties pursuant           to   Labor Code          § 203;

          13           8.      For    interest;

          14           9.      For reasonable attomeys’ fees and costs pursuant to                       statute;   and

          15           10.     For such other and         further relief as the           Court deems proper.

          16                                           On the Seventh Cause of Action
          17                            (Failure to Provide Accurate Itemized                     Wage Statements)
          18           1.      For statutory penalties, including penalties pursuant to Labor Code section 226;

          19           2.      For reasonable attorneys’ fees and                 costs;    and

          20           3.      For such other and further relief as the Court deems proper;

          21                                            On the Eighth Cause of Action
          22                                       (Violation of the Unfair Competition                Law)

          23            1.     That Defendants, jointly and/or severally, pay restitution and/or disgorgement of

          24   sums   to Plaintiff   and Class Members for the Defendants’ past                       failure to   pay minimum, overtime

          25   and regular wages, for Defendants’ past failure               to      reimburse necessary expenses, and for premium

          26   wages for meal and rest periods that were not provided to Plaintiff and Class Members over the                        last


          27   four (4) years in an amount according to proof;

          28

                                                                            -   26   -
                                                                                                                                            _
                                                                         COMPLAINT
Case 2:22-cv-01239-MCE-KJN Document 1-1 Filed 07/14/22 Page 27 of 43

               1            2.      For reasonable attorneys’ fees that Plaintiff and Class Members are entitled              to

               2    recover under California     Code of Civil Procedure     § 1021.5      and Labor Code section 1194, 1197,

               3    1198;

               4            3.      For pre-judgment     interest   on any unpaid minimum, regular and overtime wages due

               5    from the day that such amounts were due;

               6            4.      For costs of    suit incurred herein that Plaintiff      and Class Members are entitled to

               7    recover under the Labor Code; and

               8            5.      For such other and further relief as the Court deems proper.

               9

              10                                        DEMAND FOR JURY TRIAL
              11            Plaintiff,   on behalf of the Class and Subclasses, respectfully demand ajury trial     in this

              12    matter to the fullest extent available under the law.

              13
                                                               Respectfully submitted,
              14

              15

              16    Dated: April 29, 2022
                                                               JAMES HAWKINS, APLC
              17                                               James R. Hawkins, Esq.
          .
              1'8
                                                               Christina   M. Lucio, Esq.

              19                                               Attomeys     for   CORNELIUS        OMAR BENNETT, on behalf
                                                               of himself and     all   others similarly situated
              20

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                                                                         -27-                                                      _
                                                                       COMPLAINT
                         Case 2:22-cv-01239-MCE-KJN Document 1-1 Filed 07/14/22 Page 28 of 43                                                                                CM-010
        ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number,, and address):                                                           FOR COURT USE ONLY
       — James Hawkins, SBN 192925; Christina M. Lucio, SBN 253677
         JAMES HAWKINS APLC
         9880 Research Dr., Suite 200
        Irvine, California 92618
                                                                                     (949) 387-6676                            FILE        NDQRSE    Court
                                                                                                                                Clerk • the Superior
                 TELEPHONE NO.: (?49)3 87-7200                            FAX NO.:
         ATTORNEY FOR (Name):         ornelius Omar Bennett
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF                   Solano
              STREET ADDRESS:       580 Texas Street                                                                                     MAY 0 3 2022
                                                                                                                                        K. Fellersen
              MAILING ADDRESS:
             CITY AND ZIP CODE:     Fairfield, 94533                                                                           By
                  BRANCH NAME:      Old Solano Courthouse - Civil Division                                                                  DEPUTY CLERK
            CASE NAME:
          Bennett v. Anheuser-Busch Commercial Stratefy, LLC, et al.
                                                                                                CASE NUMBER:
           CIVIL CASE COVER SHEET                            Complex Case Designation
       n    Unlimited             Limited r7                  Counter    1- 1
                                                                            n      Joinder                It
            (Amount               (Amount
            demanded              demanded is          Filed with first appearance by defendant
                                                                                                 JUDGE:
                                                                                                                                               Stephen Gizzi
            exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:                                                                           3
                                     Items 1-6 below must be completed (see instructions on page 2).
       1. Check one box below for the case type that best describes this case:
             Auto Tort                                               Contract                                       Provisionally Complex Civil Litigation
                    Auto (22)                                                Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
            El      Uninsured motorist (46)                                  Rule 3.740 collections (09)            El    Antitrust/Trade regulation (03)
            Other PI/PD/WD (Personal Injury/Property                         Other collections (09)                 El     Construction defect (10)
            Damage/Wrongful Death) Tort                                      Insurance coverage (18)                      Mass tort (40)
            n     Asbestos (04)                                            Other contract (37)                             Securities litigation (28)
            El P• roduct liability (24)                              Real Property                                         Environmental/Toxic tort (30)
            71 M• edical malpractice (45)                           El     Eminent domain/Inverse                   El     Insurance coverage claims arising from the
            n    Other PI/PD/WD (23)                                       condemnation (14)                               above listed provisionally complex case
                                                                     71 Wrongful eviction (33)                             types (41)
            Non-PI/PD/WD (Other) Tort
                    Business tort/unfair business practice (07)     El
                                                                     Other real property (26)                       Enforcement of Judgment
                    Civil rights (08)                           Unlawful Detainer                                   n     Enforcement of judgment (20)
                    Defamation (13)                             n    Commercial (31)                                Miscellaneous Civil Complaint
            Ei      Fraud (16)                                       n       Residential (32)                       n     RICO (27)
                    Intellectual property (19)                       n       Drugs (38)                             CI Other complaint (not specified above) (42)
            El      Professional negligence (25)                     Judicial Review                                Miscellaneous Civil Petition
            El   Other non-PI/PD/WD tort (35)                        n     Asset forfeiture (05)
                                                                                                                    CI P• artnership and corporate governance (21)
            Employment                                               n       Petition re: arbitration award (11)
                                                                                                                    ri O• ther petition (not specified above) (43)
                 Wrongful termination (36)                          ri       Writ of mandate (02)
            ri      O• ther employment (15)                                  Other judicial review (39)
       2. This case r7 is          0     is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
Li,       factors requiring exceptional judicial management:
          a. =     Large number of separately represented parties        d.                 r7
                                                                                 Large number of witnesses
          b. =     Extensive motion practice raising difficult or novel e. =     Coordination with related actions pending in one or more courts
                   issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
          c.       Substantial amount of documentary evidence                    Substantial postjudgment judicial supervision

LL! 134.. Remedies sought (check all that apply): a. I monetary b. n
          Number of causes of action (specify): 8
                                                                                nonmonetary; declaratory or injunctive relief                                     c. =punitive

       5. This case          El
                            is               El
                                       is not a class action suit.
       6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
       Date: April 29, 2022
       Christina M. Lucio, Esq.                                                                                                       1-
                                          (TYPE OR PRINT NAME)                                                     (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                              NOTICE
         • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
           under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
           in sanctions.
         • File this cover sheet in addition to any cover sheet required by local court rule.
         • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
           other parties to the action or proceeding.
         • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                               Pagel of 2
       Form Adopted for Mandatory Use
                                                                     CIVIL CASE COVER SHEET                                    Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
         Judicial Council of California                                                                                                Cal. Standards of Judicial Administration, std. 3.10
         CM-010 [Rev. July 1, 2007]                                                                                                                                  www.courtinfo.ca.gov
                     Case 2:22-cv-01239-MCE-KJN    Document 1-1 Filed 07/14/22 Page 29 of 43                                           CM-010
                                 INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case–Seller Plaintiff                    Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice–                           Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                         Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                      harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ–Administrative Mandamus                        Election Contest
         Other Professional Malpractice                  Writ–Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                         Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ–Other Limited Court Case                             Claim
Employment                                                   Review                                          Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal–Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET
                 Case 2:22-cv-01239-MCE-KJN Document 1-1 Filed 07/14/22 Page 30 of 43
                                                                                                                                                             SUM-100
                                          SUMMONS                                                                             FOR COURT USE ONLY
                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                   (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
 ANHEUSER-BUSCH COMMERCIAL STRATEFY, LLC, a Delaware
 Limited Liability Company; ANHEUSER-BUSCH, LLC, a Missouri Limited
 Liability Company; and DOES 1-50, inclusive,
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
 CORNELIUS OMAR BENNETT, individually and on behalf of himself
 and all others similarly situated,
                                                                                                                                                                 •
  NOTICE! You I lizIVC been sued. The LAJLII I. I iIdy decide against you without your being heard unless you r ebpur Id WILI III I all days. Read the Information
  below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 lAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informaci0n a
 continuaci0n.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada telef0nica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto Si desea que procesen su caso en la corte. Es posible que hays un formulario que usted pueda usarpara su respuesta.
 Puede encontrar estos formularios de /a corte y mas informaci0n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
 que le     un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podia guitar su sueldo, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que (lame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
 remisi0n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (wvomlawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
 colegio de abogados locales. AVISO: Por ley, /a corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaci0n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                        CASE NUMBER:
                                                                                                             (Numero del Caso):
(El nombre y direcci0n de la corte es): Solano            Superior Court
580 Texas Street                                                                                                      Fcs         O   SCiS    2-r<> 7
Fairfield, California 94533
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
JAMES HAWKINS APLC, 9880 Research Drive, Suite 200, Irvine CA 92618; (949) 387-7200

DATE:                                                                Clerk, by                 Fellersen                                                     , Deputy
 (Fecha)                       MAY 0 3 2022                          (Secretario)           K.                                                                (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
  [SEAL]
                                  1. nas     an individual defendant.
                                  2. I- 7 as the person sued under the fictitious name of (specify):


                                      3. ED on behalf of (specify):

                                                         CCP 416.10 (corporation)                                      CCP 416.60 (minor)
                                                   nCCP 416.20 (defunct corporation)                                   CCP 416.70 (conservatee)
                                                   F - 1 CCP 416.40 (association or partnership)                       CCP 416.90 (authorized person)
                                                   n1     other (specify):
                                      4. nby         personal delivery on (date):
                                                                                                                                                                Page 1 of 1
Form Adopted for Mandatory Use
  Judicial Council of California
                                                                         SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                        www.courlinfo.ca.gov
 SUM-100 [Rev. July 1, 2009]
               Case 2:22-cv-01239-MCE-KJN Document 1-1 Filed 07/14/22 Page 31 of 43
                                                                                         OLD SOLANO COURTHOUSE
          1.1REtc.4                    SUPERIOR COURT OF CALIFORNIA                         580 Texas Street
fte
                                            COUNTY OF SOLANO                               Fairfield, CA 94533
                                                                                             (707) 207-7330
                                                 CIVIL DIVISION
                                                                                             HALL OF JUSTICE
                                                                                           600 Union Avenue
                                                                                           Fairfield, CA 94533
                                                                                            (707) 207-7330




 Plaintiff(s):        CORNELIUS OMAR BENNETT                        Case No. FCS058207

                                                                    NOTICE OF CASE MANAGEMENT
                                                                    CONFERENCE ONE
 Defendant(s): ANHEUSER-BUSCH COMMERCIAAL                           AND
               STRATEFY, LLC                                        NOTICE OF ASSIGNMENT OF
                                                                    JUDGE FOR ALL PURPOSES


      PURSUANT TO LOCAL RULES AND BY ORDER OF THIS COURT, THIS MATTER HAS BEEN
      CALENDARED FOR CASE MANAGEMENT CONFERENCE ONE:

                      Date: 09/13/2022                      Time:    9:00 a.m.,


      THIS MATTER HAS BEEN ASSIGNED FOR ALL PURPOSES TO:
      Judge Stephen Glz.zi, Department 3

      ALL HEARINGS WILL BE HELD AT: 580 Texas Street, Fairfield, California 94533


The obligations of counsel, or any party not represented by an attorney, in regard to Case Management
Conference One and any Case Management Conference Two set by the court are as follows:
1.    Service of the complaint must be within sixty (60) calendar days of the date of filing.
2.    Service and filing of any responsive pleadings must be within thirty (30) days after service of the
complaint. The time for filing responsive pleadings may not be extended except as authorized by law.
Appearance at the Case Management Conference does not excuse a litigant from the requirement of filing and
serving a responsive pleading within this deadline.
3.    Plaintiff shall serve a copy of this Notice of Case Management Conference One and Notice of Assignment
of Judge for All Purposes ("Notice of CMC One') on all defendants with the complaint.
4.    Any party serving a cross-complaint shall serve a copy of this Notice of CMC One on each cross-
defendant with the cross-complaint.
5.    Any cross-complaint served after Case Management Conference One has been held shall have a Notice
of Case Management Conference Two served with it.
6.    At least thirty days before the date set for Case Management Conference One, all counsel and self-
represented parties shall comply with the meet and confer obligations of California Rules of Court, rule 3.724.
7.    A Case Management Statement (Judicial Council form CM-110) shall be filed with the court and served on
all parties by each counsel by the 15th calendar day before the date set for Case Management Conference
One.
8.    At least one party demanding a jury on each side of a civil case must pay a nonrefundable fee of $150.00
on or before the initial case management conference or as otherwise provided by statute.

                               NOTICE OF CMC ONE AND NOTICE OF ASSIGNMENT OF JUDGE
  0900-CV REV. 01-01-2020                                                                             Page 1of 2
          Case 2:22-cv-01239-MCE-KJN Document 1-1 Filed 07/14/22 Page 32 of 43
9.    At Case Management Conference One the court shall inform counsel and self-represented parties of the
date, time and place for Case Management Conference Two and shall make any orders regarding what is
expected that counsel and self-represented parties will accomplish in regard to the case before the filing of the
Case Management Statement for Case Management Conference Two.
10. Each counsel shall complete, file, and serve on ail parties a completed Case Management Statement by
the 15th calendar day before the date set for Case Management Conference Two.
11. At any Case Management Conference, counsel shall be completely aware of all procedural, factual, and
legal aspects of the case, and have full authority to discuss and resolve any issues that arise at the conference,
including settlement of the case. This applies equally to both attorneys of record and specially-appearing
counsel.
12. The court may impose sanctions pursuant to Solano CoUnty Local Rules, rule 4.6, in the event that a
Case Management Statement is not timely filed and/or served, or is not fully completed, or the requirements of
Rule 4.6 are not met.

    COUNSEL AND SELF-REPRESENTED PARTIES ARE OBLIGATED TO REVIEW AND COMPLY WITH
        LOCAL AND STATEWIDE RULES REGARDING CIVIL LITIGATION. They are available at:
                                http://www.courts.ca.gov/rules.htm
                      http://www.solano.courts.ca.gov/LocalRulesofCourt.html

                                              AFFIDAVIT OF SERVICE
 the undersigned, declare under penalty of perjury that I am employed as a deputy clerk of the above-entitled court and
not a party to the within-entitled action, and that I served this notice as follows:

         personally served the person named below on (date):                                                       at
        (time)

        Name:
                 El   Party     Ill Attorney of Record           0 Representative


                                                      , acknowledge receipt of a copy of this Notice of Case
        Management Conference One and Notice of Assignment of Judge for All Purposes.

        Date:
                                                 Signature

❑       I caused to be placed a true copy of this notice in an envelope which was then sealed and postage fully prepaid
        on the date shown below; that I am readily familiar with the business practice for collection and processing of
        correspondence for mailing with the United States Postal Service; that the above stated document will be
        deposited in the Superior Court of California, County of Solano's outgoing mailbox for collection by county mail
        carriers on the date indicated. Said envelope was addressed to the attorneys for the parties, or the parties, as
        shown below:




        ❑ See attached for additional service addresses
Date: 05/11/2022                                 Clerk of the Court
                                                 Superior Court of California, County of Solano
                                                 By:                K. Fellersen
                                                                          Deputy Clerk
                          NOTICE OF CMC ONE AND NOTICE OF ASSIGNMENT OF JUDGE
0900-CV REV. 01-01-2020                                                                                         Page 2 of 2
 Case 2:22-cv-01239-MCE-KJN Document 1-1 Filed 07/14/22 Page 33 of 43


                       SUPERIOR COURT OF CALIFORNIA
                                 COUNTY OF SOLANO

                             580 Texas Street, Fairfield, CA 94533

                          [ 1 321 Tuolumne Street, Vallejo, ca 94590




AFFIDAVIT OF PICK UP BOX SERVICE                                       Case No. FCS058207

        I, the undersigned, certify under penalty of perjury that I am employed as a deputy
clerk of the above-entitled court and not a party to the within-entitled action, that I served
the attached [ X I Notice of Case Management Conference [                Notice of Status
Conference [ J Notice re: Collection Cases on the person/business and/or law office via
pick up box on the date shown below:

REPRESENTATIVE:                           FIRST LEGAL


FOR:                                   JAMES HAWKINS
                                       (law firm/ business/ pro per)




Date:   May II, 2022

                                                           By:            K. FELLERSEN
                                                                             Deputy Clerk




                        AFFIDAVIT OF PICK-UP BOX SERVICE

Rev. 10/21
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                          .'.:.-'.;:_;;..!.,,
                           ·::€..:;;::;:"--

. CORNELll)S OM~R BENNETT                                                                      CASE NO. FCS058207
DEFENDANT:
                                                                                               CLERK'S APPLICATION
ANHEUSER-BUSCH COMMERCIML STRATEFY, LLC
                                                                                                    AND ORDER

I, the undersigned, employed as a Legal Process Clerk for the above-entitled court, apply for an order as follows:

                      0       vacating default described below.
                      0       vacatingjudgment described below.
                                                                                                                    NDORSED
                                                                                                         Clerk of the Superior Court ·

                      0        vacating answer and/or other responsive pleading described below.
                                                                                                             MAY 13 2022
                                                                                                        --~~-otz:ttt:m1:;i
    - --- - -     -Ill-complex case determination-pursuant to-CRC 3.403
                      0        Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                              DEPUTY CLERK
          Document: CIVIL CASE COVER SHEET
          Date filed: 05/03/2022
          Reason: Civil case cover sheet indicates case is complex and class action on line 2 and
                      line 5.


I certify under penalty of perjury that the foregoing is true and correct.
Executed on 05/11/2022                          at Fairfield, California.


                                                                            By: K. FELLERSEN
                                                                                               Deputy

                                                                        ORDER
Upon consideration of the clerk's application and review of the court file:
IT IS ORDERED:
          D     The default(s) of the defendant(s) named in the Clerk's application is (are) vacated.
          D     The judgment entered on _ _ _ _ _ _ is vacated.
          D     The answer and/or other responsive pleading is vacated.
       ~e is determined to be complex (CRC 3.403)         D Case is determined not to be complex (CRC 3.403).
       D Complex Case fees of$1,000.00 due per defendant within 10 days of the mailing of this order.
       D Set for complex case determination hearing o n - - - - - - - at _ _,,,___ _ _ in Dept _ __
         D      Other:,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _---r.r-_,,,<+-~l'--~~--;f'-~'--------




Fonn # 1050 5131113
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                                                SUPERIOR COURT OF CALIFORNIA
                                                           COUNTY OF SOLANO


                D 600 Union Ave, Fairfield, CA               94533   lg] 580 Texas Street, Fairfield, CA 94533


                CERTIFICATE AND AFFIDAVIT OF MAILING                        CASE NO: FCS058207

                I, the undersigned, certify under penalty ofperjury that I am employed as a deputy clerk
                of the above-entitled court and am not a party to the within-entitled action; that I served
                the attached document:                                ·

                                              CLERK'S APPLICATION AND ORDER
-~ -------.:.---_,,.~----. ~-   -· --------- ----   ,,._



                By causing to be placed a true copy thereof in an envelope which was then sealed and
                postage fully prepaid on the date shown below; that I am readily familiar with the
                business practice for collection and processing of correspondence for mailing with the
                United States Postal Service; that the above stated document will be deposited in the
                Superior Court of California, County of Solano's outgoing mailbox for collection by
                county mail carriers on the date indicated. Said envelope was addressed to the attorneys
                for the parties, or the parties, as shown below: ·

                CHRISTINA LUCIO
                JAMES HAWK.INS APLC
                9880 RESEARCH DR, STE 200
                IRVINE, CA 92618
                Attorney for Plaintiff




                Dated: May       13~   2022            By: ~~~K=·~F=EL=L=E=R=S=EN;...;._~~~~~
                                                                           Deputy Clerk




                                              CERTIFICATE AND AFFIDAVIT OF MAILING
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                                                                                         Vo'follo"1&peri or   Card
                                                                                                                  110)

 I                           EN THE SUPERIOR COURT OF CALIFORNIA                              DEC -5 Zap
                                IN AND FOR THE COUNTY OF SOLANO                     By
                                                                                                EPUTY CL      <
 3

 4   In re Complex Litigation                               Standing Order No. 2015-001-CV

 5
                                                            AMENDED STANDING ORDER FOR
 6                                                          ELECTRONIC SERVICE OF
                                                            DOCUMENTS IN COMPLEX
 7                                                          LITIGATION

 8

 9   A.       FINDINGS
10            The court finds that entry of a standing order requiring mandatory electronic service

II   of all pleadings and documents in all cases that it identifies as "complex" per California
12   Rules of Court, rule 3.403 will benefit the court, attorneys, and litigants, and will further the
13   orderly conduct E. nd management of complex litigation in this jurisdiction. The court further
14   finds that electronic service will not cause undue hardship or significant prejudice to any

15   partY.
16   B.       ELECTRONIC SERVICE OF DOCUMENTS

17            I.     Effective January 1, 2015, the court orders that all documents shall be s,eue,cl,,,

I8   electronically as set forth in this order and in California Rules of Court, rule 2.251. This

19   standing order shall apply to all cases pending on January I, 2015, and to all cases filed on

20   or after January 1, 2015. Unless otherwise agreed by the parties, this order does not apply to

21   any documents fi ed or served prior to January I, 2015.

22            2.     Or;ginal documents must be filed with the court as required by the Code of

23   Civil Procedure, the California Rules of Court, or the local rules of the Superior Court of
24   California, County of Solano. Nothing in this standing order shall be construed to require or

25   permit electronic filing of documents with the court.

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 1           3.        P;.r California Rules of Court, rule 2.253(b)(I)(F), this standing order shall
 9   apply only to cases designated as complex per California Rules of Court, rules 3.400

 3   through 3.403.

 4           4,        This standing order shall apply to all attorneys in a complex matter. This

 5   standing order shall apply to self-represented litigants only if they elect to participate in

 6   electronic service, Unrepresented litigants who do not elect to participate in electronic

 7   service shall serve and shall be served documents in the manner required by the Code of

 8   Civil Procedure, the California Rules of Court, and/or the local rules of the Superior Court

 9   of California, County of Solano.

I0           5.        The following documents shall not be served electronically;

11                     a.     Documents filed under seal or subject to a pending motion to seal, unless

12   electronic service is permitted or required by specific court order.

13                     b.     Documents directed to an unrepresented party who has not elected to

14   participate in elec tronic service,

15                     c,     A summons, complaint, or cross-complaint.

16           6.        The documents enumerated in (B)(5), supra, shall be served pursuant to the

17   applicable provisions of the Code of Civil Procedure, California Rules of Court, and/or the

18   local rules of the Superior Court of California, County of Solano.

19   C.      DEITINITIONS

20           1.        The definitions in California Rules of Court, rule 2.250(b) shall apply to this

21   standing order.

27           2.        The term "plaintiff' includes a cross•complainant or an intervenor.

23           3.        Th:.; term "initial complaint" includes a cross-complaint or a complaint in

24   intervention.

25


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             4.      me term "amended complaint" includes an amended cross-complaint or an

     amended complaint in intervention,

 3   D.      DESIGNATION OF ELECTRONIC SERVICE PROVIDER

 4           I.      The court designates File & ServeXpress as the electronic service provider ("the

 5   ESP"). File & ServeXpress shall serve as the ESP absent notice by the court that the ESP has

 6   been changed or 6urther court order. File & ServeXpress may be contacted by visiting

 7   http://www.fileardservexpress.com or by calling 888-529-7587.

 8   E.      NOTICE OF STANDING ORDER

 9           1.      If a plaintiff designates the case as complex on the initial complaint, a copy of

10   this standing order shall be served on all defendants concurrently with the summons and

11   complaint. If a plaintiff does not designate the case as complex on the initial complaint but

I2   designates it as ccinplex on an amended complaint, a copy of this standing order shall be

13   served on all defe idants concurrently with the amended complaint.

14           2.      If defendant designates the case as complex on the initial answer, a copy of

15   this standing orde ,. shall be served on all plaintiffs concurrently with the answer, If a defendant

I6   does not designatv the case as complex on the initial answer but designates it as complex on an

17   amended answer, a copy of this standing order shall be served on all plaintiffs concurrently

13   with the amended answer.

19           3,     If reither party designates the case as complex but the court determines the case
20   is complex per California Rules of Court, rule 3.403(b), the plaintiff shall serve a copy of this

21   standing order on all defendants within 5 calendar days of being notified by the court of the

7?   complex designation.

23           4.     Any party that joins a new party into this action shall serve a copy of this

24   standing order on Ihe new party at the time of initial service.

25


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 1   F.      REGISTRATION WITH ELECTRONIC SERVICE PROVIDER

             Upon the court designating a civil action as complex per California Rules of Court,

 3   rules 3.402 and 3.403, the following registration procedures shall apply:

 4           1.      Within 15 days of the court's designation of the case as complex, the

 5   plaintiff's attorney, or the plaintiff if self-represented, shall submit to the ESP and to the

 6   court a complett and current list of the parties, party types, and counsel representing each

 7   party. The list shall include the names of any lead and other associated attorneys, together

 8   with addresses, telephone and facsimile numbers, and e-mail addresses. All lists shall be

 9   sent to the follow ing e-mail address: eserviceafileandservexpress.com. The ESP shall

I0   promptly notify all Registered Users of any changes to this e-mail address.

11          2.      If an unrepresented party affirmatively consents to electronic service, the
12   plaintiff's attorney, or the plaintiff if self-represented, shall submit to the ESP and to the

13   court the unrepresented party's address, telephone number, facsimile number, and e-mail

14   address in the sat µe manner and within the same time limits as for attorneys.

15          3,      Al: attorneys, and any unrepresented parties who consent to electronic

16   service, shall register with the ESP in the manner designated by the ESP.

17          4.      Each attorney and unrepresented party registered with the ESP shall keep his or

18   her service information current and accurate with the ESP, all other attorneys and

19   unrepresented parties, and the court.

            5.      Each attorney and unrepresented party registered with the ESP shall be referred

21   to in this order as a "Registered User."

22   G.     ESTABLISHMENT AND STRUCTURE OF COMPLEX LITIGATION

23   WEBSITE

24          1.      For each complex litigation case subject to this standing order, the ESP shall

25   establish and maintain an Internet website ("the Website"). The ESP shall post to the Website


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  1   all documents submitted to the ESP by any Registered User and shall serve each document

  2   pursuant to the service list provided to the ESP in accordance with the procedures herein.

 3               2,   Access to the Website will be limited to Registered Users and authorized court

 4    personnel. The 13SP will provide each Registered User and authorized court personnel with a

 5    user name and password to access the Website and the documents served in this action, The

 6    ESP personnel will perform all administrative functions for the Website, but all initial data,

 7    additions, deletions or changes to the service list must be submitted by the attorneys and/or

 8    parties.

 9               3.   All documents posted on the Website will be identified by; (1) the name of the

10    serving party or t..ttorney; (2) the caption(s) of the case(s) to which the document belongs; (3)

11    the title of the dwurnent set forth on its caption; and (4) the identity of the party on whose

12    behalf the docum ant is being served.

13               4.   Ti•e Website shall contain an index of all served documents for the litigation

14    that will be searchable and sortable according to methods that provide useful access to the

15    documents.

I6    H.         CONTENT AND FORMAT OF DOCUMENTS SERVED TELROUGH TB ESP

17               1,   Th.. document shall be served to the ESP either as a word-processing file or as a

I8    scanned image of the document. Each document shall be titled so as to identify the type and

19    purpose of such document and the identity of the attorney or party who is serving such

20    document.

21                    Every pleading, document and instrument served electronically shall bear a

'71   facsimile or typographical signature of at least one of the serving attorneys and/or parties,

23    along with the typed name, address, telephone number and State Bar of California number,

24    where applicable, of such attorney or party. Typographical signatures shall be treated exactly

25    as personal signatures for purposes of electronically served documents under the Code of Civil


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  1   Procedure. The attorney and/or party serving any document requiring multiple signatures (e.g.,

      stipulations, joint status reports) must list thereon all the names of other signatories by means

  3   of a            blc..ck for each. By submitting such a document, the serving party certifies that

 4    each of the other signatories has expressly agreed to the form and substance of the document

 5    and that the serving attorney or party has the actual authority to submit the document

 6    electronically. The serving attorney or party must maintain any records evidencing this

 7    occurrence for subsequent production to the court if so ordered or for inspection upon request

 8    by any ply•

 9               3.   A Registered User's service of any document through the ESP shall be deemed

I0    to include an implied warranty that to the best of the Registered User's knowledge, the

I1    transmitted document does not contain malware.

      L          PROCEL URE FOR SERVICE THROUGH THE ESP

13               I.   A iocument shall be served through electronic transmission to the ESP over the

14    Internet.

15               2.   At er the ESP receives a document, the ESP shall convert such document into

16    Adobe Portable Document Format ("PDF") and post it to the Website within one (I) hour of

17    receipt.

18               3.   Within one (1) hour of the time a document is posted to the Website, the ESP

19    will notify all Registered Users that a document has been posted to the Website. Registered

as    Users will also receive a courtesy e-mail ❑otification of a filing with which they have been

21    served. The email shall contain a hyperlink to the document location(s) on the Website .

                 5.   Each Registered User shall retain an original dated hard copy with hand written

23    signature of all do.mments served electronically by that Registered User. All such hard copies

')4   shall be made available for inspection in the manner set forth in California Rules of Court,

      rules 2.251(i) and 2.257(a).


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 I   3,      PROOFS OF SERVICE

 2           I.       Written proofs of electronic service shall conform to Code of Civil Procedure
 3   section 1013a and California Rules of Court, rule 2,251(i). The ESP's transaction receipt may

 4   operate as the proof of service so long as it complies with California Rules of Court, rule

 5   2,251(0, and California Code of Civil Procedure section 10I3a.

 6           3.       A proof of service page may be attached to the last page of any electronically

 7   served document. Neither a separate caption page nor a separate filing of the proof of service is

 8   required so long us the proof of service page contains a caption referencing the case name and

 9   action number, is attached as the last page of the electronically served document to which it

10   refers, and refere•rces the ESP's transaction receipt,

11   K.      EFFECT OF ELECTRONIC SERVICE

12           1.       Each document electronically served pursuant to this standing order shall be

I3   presumed to have been served in compliance with the Code of Civil Procedure.

14           2.       Tf. e effective date of service shall be governed by California Rules of Court,

15   rule 2.251(h).

16   L.      TECHNICAL PROBLEMS AND ERRORS

17           1.       If electronic service does not occur or is delayed because of (1) an error in

18   the transmission of the document to the ESP or served party which was unknown to the

19   sending party, (2l a failure to process the electronic document when received by the ESP,

20   (3) an erroneous exclusion from the service list, or (4) other technical problems experienced by

21   the ESP, the party or parties affected shall, absent extraordinary circumstances, be entitled to

22   an extension for any response or the period within which any right, duty, or other act must be

23   performed, provided the Registered User demonstrates that he or she attempted to file or

24   complete service on a particular day and time.

25


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          A




 1            2.      In the event the technical difficulties described above result in a Registered User

 2   being unable to :amply with a statutory, court-ordered, or mutually-agreed deadline, the

 3   Registered User may obtain an ex parte court order granting an extension of time by following

 4   the standard ex varte procedure in the California Rules of Court and the court's local rules.

 5   Provided the technical problem has been resolved and the Website is operating normally,

 6   notice of the ex parte application may be given through the ESP. In addition to the ex pane

 7   application, the Registered User shall file and serve a declaration which describes the

 8   attempt(s) made, provides the reason service did not occur or was delayed, states how and

 9   when the non-set vice or delay in service was discovered, details the person's efforts made to

10   rectify the situation, and states with specificity the extension of time sought.

11            3.     If the technical difficulties described above do not prevent a Registered User

I2   from meeting a satutory, court-ordered, or mutually-agreed deadline, the Registered User may

13   file and serve a d iclaration which describes the attempt(s) made to serve the documents,

14   provides the reas. in(s) service did not occur or was delayed, states how and when the non-

I5   service or delay i t service was discovered, details the person's efforts made to rectify the

16   situation, and states with specificity the extension of time the party believes appropriate.

I7   M.       ELECTRONIC SERVICE OF ORDERS AND OTHER PAPERS BY COURT

18            The court may serve notices, orders, and other documents electronically subject to the

19   provisions of this order.

20   N.       MODIFICATIONS TO STANDING ORDER

21            The court may, on a party's motion or on its own motion, order modifications to this

11   standing order in A specific case.

23   It is so ordered. •

24   Date:               14'     fY
                                                    Scott L. Kays
25                                                  Supervising Judge, Civil Division

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